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                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION




 UNITED STATES OF AMERICA

                 Plaintiff,                              CASE NO. 2:07-CR-125

         v.
                                                         JUDGE SARGUS
 IZAIH DANIEL,

                 Defendant.



                                               ORDER



        This matter is before the Court on the Government’s Motion to Dismiss the Indictment.

(ECF No. 4.) The Government represents that the defendant was never arrested and brought

before this Court on the charges contained in the Indictment. Further, the length of time that has

passed, the evidence in this particular case is stale.

        The Motion to Dismiss the Indictment is GRANTED. The Indictment is DISMISSED

without prejudice and the warrant issued by this Court is set aside.




6/25/2024                                                s/Edmund A. Sargus, Jr.
DATE                                                     EDMUND A. SARGUS, JR.
                                                         UNITED STATES DISTRICT JUDGE




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